United States District Court

Central District of California

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Brian J. Krueger,

2:20-cv-7083-VAP-PJWx
Plaintiff,

V JUDGMENT
Adlife Marketing and Communications Co.,

Inc.,

Defendant

 

 

 

 

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to the Order Granting Defendant’s Motion to Dismiss, IT IS
ORDERED AND ADJUDGED that Plaintiffs Complaint is DISMISSED
WITHOUT PREJUDICE. The Court orders that such judgment be entered.

IT IS SO ORDERED.

Dated: 12/10/20 Visntan 0 Phot

V Virginia A. Phillips
United States District Judge
